        Case 3:19-mc-00024-AWT Document 7 Filed 03/18/19 Page 1 of 28



                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF CONNECTICUT


                                       §
FRACTUS, S.A.,                         §
                                       §
        Movant,                        §
                                       §     C.A. No. 3:19-mc-00024-AWT
v.                                     §
                                       §
AMPHENOL CORPORATION,                  §
                                       §
        Respondent.                    §
                                       §



     AMPHENOL CORPORATION’S RESPONSE TO FRACTUS, S.A.’S MOTION TO
           COMPEL COMPLIANCE WITH SUBPOENA DUCES TECUM




ORAL ARGUMENT REQUESTED
         Case 3:19-mc-00024-AWT Document 7 Filed 03/18/19 Page 2 of 28



                                              TABLE OF CONTENTS

                                                                                                                               Page

I.     INTRODUCTION ...............................................................................................................1

II.    BACKGROUND .................................................................................................................4

       A.        Amphenol’s Compliance with Fractus’s Subpoena .................................................5

       B.        Fractus’s January 2019 Request That Amphenol Redo Its Production ...................7

       C.        The Parties Meet and Confer ...................................................................................9

       D.        Fractus Serves Three Additional Subpoenas .........................................................10

III.   LEGAL STANDARD........................................................................................................10

       A.        Proper Venue For Motion to Compel ....................................................................10

       B.        Discovery Against Nonparties ...............................................................................11

       C.        Issuing Party’s Duty to Avoid Undue Burden or Expense ....................................12

IV.    ARGUMENT .....................................................................................................................13

       A.        Fractus Improperly Filed Its Motion To Compel In This Court ............................13

       B.        Fractus’s Requests For Production Are Improper .................................................14

                 1.         Technical Documents.................................................................................15

                 2.         Sales and Marketing Documents ...............................................................17

                 3.         Communications Mentioning Fractus and/or Its Patents ...........................20

       C.        Fractus Has Failed To Take Reasonable Steps To Avoid Imposing Undue
                 Burden And Expense On Nonparty Amphenol .....................................................21

V.     CONCLUSION ..................................................................................................................23




                                                                 i
             Case 3:19-mc-00024-AWT Document 7 Filed 03/18/19 Page 3 of 28



                                                 TABLE OF AUTHORITIES

                                                                                                                                    Page(s)

                                                                  CASES

AT&T Mobility,
  Case No. 2:18-cv-00135, Dkt. No. 78 .......................................................................................5

AT&T Mobility,
  Dkt. No. 19 .................................................................................................................................5

AT&T Mobility, Case No. 2:18-cv-00135, Dkt. No. 150 .................................................................9

ATLC, Ltd. v. Eastman Kodak Co.,
   No. 6:06-CV-416-ORL-19KRS, 2006 WL 3422413 (M.D. Fla. Nov. 28, 2006) .............12, 21

Cusumano v. Microsoft Corp.,
   162 F.3d 708 (1st Cir. 1998) ....................................................................................................12

Fractus S.A. v. AT&T Mobility LLC, et al.,
   No. 2:18-cv-00135 (E.D. Tex.) ..................................................................................................1

Fractus, S.A. v. AT&T Mobility LLC,
   No. 2:18-cv-00135-JRG (E.D. Tex.) .........................................................................................5

Fractus, S.A. v. Sprint Communications Company, L.P., et al.,
   No. 2:18-cv-00136-JRG (E.D. Tex.) .........................................................................................5

Fractus, S.A. v. T-Mobile US, Inc., et al.,
   No. 2:18-cv-00137-JRG (E.D. Tex.) .........................................................................................5

Fractus, S.A. v. Verizon Communications Inc., et al.
   (Case No. 2:18-cv-00138-JRG) .................................................................................................5

Haworth, Inc. v. Herman Miller, Inc.,
  998 F.2d 975 (Fed. Cir. 1993)......................................................................................11, 12, 19

High Point SARL v. Sprint Nextel Corp.,
   No. 09-2269-CM-DJW, 2011 WL 124534 (D. Kan. Jan. 14, 2011) .......................................19

JMC Rest. Holdings, LLC v. Pevida,
  No. 14 CIV. 6157(WFK)(VMS), 2015 WL 2240492 (E.D.N.Y. May 12, 2015)..............11, 13

LG Display Co., Ltd. v. Chi Mei Optroelectronics Corp.,
   No. 08cv2408-L (POR), 2009 WL 223585 (S.D. Cal. Jan. 28, 2009) .....................................18

Med. Components, Inc. v. Classic Med., Inc.,
  210 F.R.D. 175 (M.D.N.C. 2002) ............................................................................................11

                                                                      ii
            Case 3:19-mc-00024-AWT Document 7 Filed 03/18/19 Page 4 of 28



Prescient Acquisition Grp., Inc. v. MJ Publ’g Tr.,
   No. 05 CIV.6298(PKC), 2006 WL 2996645 (S.D.N.Y. Oct. 13, 2006) ............................13, 22

Solarex Corp. v. Arco Solar, Inc.,
   870 F.2d 642 (Fed. Cir. 1989)..................................................................................................11

Tucker v. Am. Int’l Grp., Inc.,
   281 F.R.D. 85 (D. Conn. 2012)..............................................................................11, 12, 14, 21

Zoological Soc. of Buffalo, Inc. v. Carvedrock, LLC,
   No. 10-CV-35A SR, 2013 WL 5652759 (W.D.N.Y. Oct. 15, 2013).......................................22

                                                                RULES

Fed. R. Civ. P. 26(b) ................................................................................................................12, 14

Fed. R. Civ. P. 26(b)(2)(C) ......................................................................................................12, 14

Fed. R. Civ. P. 45 ...............................................................................................................10, 13, 22

Fed. R. Civ. P. 45(d)(1).......................................................................................................... passim

Fed. R. Civ. P. 45(d)(1)-(2)......................................................................................................21, 22

Fed. R. Civ. P. 45(d)(2)..................................................................................................................21

Fed. R. Civ. P. 45(d)(2)(B)(i) ................................................................................................ passim

Fed. R. Civ. P. 45(d)(2)(B)(ii) .............................................................................................4, 11, 14




                                                                    iii
         Case 3:19-mc-00024-AWT Document 7 Filed 03/18/19 Page 5 of 28



       Non-party Amphenol Corporation (“Amphenol”) respectfully requests that this Court deny

Plaintiff Fractus S.A.’s (“Fractus”) motion to compel compliance with its subpoena duces tecum,

served in the underlying action Fractus S.A. v. AT&T Mobility LLC, et al., No. 2:18-cv-00135

(E.D. Tex.) on July 25, 2018 (“Subpoena”), because (1) this Court is an improper venue for the

instant motion under the Federal Rules of Civil Procedure; (2) Amphenol has already complied

with the subpoena and the additional discovery that Fractus seeks – beyond the voluminous

discovery previously produced – would cause Amphenol to incur significant expenses in violation

of the Federal Rules; and (3) Fractus has failed to take reasonable steps to avoid imposing undue

burden and expense on non-party Amphenol, as required by the Federal Rules.

I.     INTRODUCTION

       On April 4, 2018, Fractus, a Spanish licensing company, sued the four major cellular

carriers (AT&T, Sprint, T-Mobile, Verizon) in the United States District Court for the Eastern

District of Texas, alleging infringement of ten different patents. On June 18, 2018, as required by

the Texas court, Fractus served its infringement contentions, alleging that thousands of antenna

models incorporated into Defendants’ networks (a small percentage of which included

approximately one hundred different Amphenol antenna models), infringed.

       On July 25, 2018, Fractus subpoenaed non-parties Amphenol Corporation (based on

Connecticut) and Amphenol Antenna Solutions, Inc. (based in Illinois), seeking detailed discovery

on the “multiband” antennas purportedly used by the Defendants as part of the infringing

instrumentalities, as alleged in Plaintiff’s infringement contentions. The Subpoenas purported to

require compliance in San Francisco, California. Fractus provided Amphenol with a list of accused

Amphenol antenna models on August 2, 2018, and Amphenol timely served its objections to the

subpoenas on August 31, 2018. Fractus did not respond to Amphenol’s objections, including



ORAL ARGUMENT REQUESTED
                                                1
         Case 3:19-mc-00024-AWT Document 7 Filed 03/18/19 Page 6 of 28



Amphenol’s objection directed to the definition of “multiband” antennas. Fractus also did not

respond to Amphenol’s offers to meet and confer regarding the scope of certain requests for

production. Amphenol completed its (voluminous) rolling production of responsive documents

by November 13, 2018, using the list of antennas provided by Fractus on August 2. At that point,

Amphenol’s compliance with the subpoenas was complete. Amphenol nonetheless made a small

supplement of its production in December 2018, based on Fractus’s request.

       On January 9, 2019, Fractus disclosed a revised – mostly new and different – list of accused

products and demanded that Amphenol redo its production. Fractus claimed that the newly

accused antennas were “omitted” from Amphenol’s prior productions. But just eight antennas on

the revised list overlapped with those in Fractus’s June 2018 infringement contentions, and many

of the newly identified antennas were “single band” antennas, not the “multiband” antennas that

were the subject of Fractus’s July 2018 subpoena. On January 11, 2019, less than 48 hours after

asking Amphenol to redo its production and while Amphenol was considering that request, Fractus

accused Amphenol’s completed and previously unobjected-to production of being deficient.

Fractus contended that Amphenol’s November 2018 production was deficient because Amphenol

failed to produce technical documentation for antennas that Fractus first identified to Amphenol

on January 9, 2019, and because Amphenol’s production was limited to the “multiband” antennas

set forth in the July 2018 subpoenas.

       Fractus and Amphenol met and conferred twice by phone. On January 18, 2019, Fractus

represented that the newly identified antennas were “in the case.” That claim was false. As of

January 18, 2019, the newly identified antennas had not been accused in the Texas litigation. The

parties conferred again on January 24, 2019, but the newly identified antennas were still not

formally accused. Fractus first moved for leave to amend its infringement contentions to add the



                                                2
         Case 3:19-mc-00024-AWT Document 7 Filed 03/18/19 Page 7 of 28



newly identified antennas on January 30, 2019; the court has not yet ruled on the motion. In the

absence of the Texas court’s decision on Fractus’s motion, Amphenol could not fairly evaluate

Fractus’s facially burdensome request that Amphenol redo its previously completed production.

       On February 25, 2019, while its motion for leave to amend was still pending in the Texas

court, Fractus filed the instant motion to compel. In addition to Fractus’s request that this Court

order Amphenol to redo its production to cover the revised and belatedly newly identified list of

newly accused products, Fractus also seeks certain element-specific technical information that is

absent from its Subpoena. In other words, Fractus’s motion not only asks the Court to compel

non-parties to redo a voluminous production, it asks the Court to broaden the scope of the

production beyond that specified in the original Subpoenas. Fractus does not explain why the

thousands of technical files that Amphenol already produced are insufficient to satisfy its original

request. Fractus further requests that this Court order Amphenol to produce certain sales and

marketing documents, agreements, and communications that Fractus could obtain, and in some

instances has already obtained, from the Defendants. Finally, Fractus requests that this Court order

Amphenol to search the entirety of its communications for all time for “mentions” of Fractus or

its patents, based only on rank speculation that such non-privileged communications may exist.

       On March 4, 2019, while its motion for leave to amend and the instant motion was pending,

Fractus served Amphenol Corporation and Amphenol Antenna Solutions with two more

subpoenas, requesting the same detailed technical, financial, and marketing documents and

testimony sought by the July 2018 subpoenas, but now with a different list of antennas. A few

days later, On March 8, 2019, Fractus served a third round of subpoenas on Amphenol Antenna

Solutions, seeking additional details on the same subject matter as the requests in its March 4, 2019

subpoenas, and the instant motion to compel. As noted, the Texas court has yet to rule that the



                                                 3
         Case 3:19-mc-00024-AWT Document 7 Filed 03/18/19 Page 8 of 28



antennas on which Fractus seeks discovery – through its five subpoenas and this motion to compel

– are within the scope of the Texas litigations.

       The Court should deny Fractus’s motion to compel for three independent reasons. First,

this Court is an improper venue under Federal Rule of Civil Procedure 45(d)(2)(B)(i) because the

Subpoena requests compliance in another district, the Northern District of California. Second, the

cumulative and unduly burdensome discovery sought by Fractus—including a redo of Amphenol’s

prior production; technical information that Fractus failed to request; documents that Fractus could

obtain from the Defendants; and an overly broad and speculative request for non-party

communications—would impose significant expense on Amphenol in violation of Federal Rule of

Civil Procedure 45(d)(2)(B)(ii). Third, Fractus has failed to take reasonable steps to avoid

imposing undue burden and expense on non-party Amphenol, as required by Federal Rule of Civil

Procedure 45(d)(1), at least through its failure to timely respond to Amphenol’s objections, its

failure to timely respond to Amphenol’s contemporaneous offers to meet and confer, its failure to

timely raise its revised list of accused antennas, and its filing of the instant motion before obtaining

leave to amend its infringement contentions.

II.    BACKGROUND

       Amphenol Corporation, and its wholly-owned subsidiary, Amphenol Antenna Solutions,

Inc., manufacture base station antennas, typically sold to cellular carriers to be incorporated into

those carriers’ networks. Amphenol Antenna Solutions resides in Illinois and is headquartered in

Rockford, Illinois.    Amphenol Corporation resides in Connecticut and is headquartered in

Wallingford, Connecticut.

       On April 4, 2018, Fractus, a Barcelona-based Spanish licensing company, sued the four

major cellular carriers (AT&T, Sprint, T-Mobile, Verizon) in the United States District Court for



                                                   4
           Case 3:19-mc-00024-AWT Document 7 Filed 03/18/19 Page 9 of 28



the Eastern District of Texas.1 Fractus alleged that the carrier Defendants infringe ten Fractus

patents by using certain third-party antennas, including antennas made by Amphenol. See, e.g.,

AT&T Mobility, Case No. 2:18-cv-00135, Dkt. No. 1. On June 18, 2018, in compliance with the

Court’s Docket Control Order and the local patent rules, Fractus served its original infringement

contentions alleging that thousands of antenna models incorporated into Defendants’ networks (a

small percentage of which included approximately one hundred different Amphenol antenna

models), infringed. Id., Dkt. No. 78. The deadline for substantial completion of document

production was February 8, 2019, and fact discovery closes April 15, 2019. Id.

                A.      Amphenol’s Compliance with Fractus’s Subpoena

         On July 25, 2018, Fractus served two identical document subpoenas on non-parties

Amphenol Corporation and Amphenol Antenna Solutions, Inc., requesting documents sufficient

to show, among other things, “each multiband antenna sold in the United States (including all

territories thereof) since the first date of sale of any such antenna, including the model number, all

purchaser(s) … date of sale, sale price … cost of goods sold, and gross profit”. (Declaration of

Bradley Hyde (“Frenkel Decl.”), Ex. A, July 25, 2018 Document Subpoena, at Request No. 1.)2

The Subpoena also requested technical information sufficient to show physical characteristics of

each multiband antenna such as its arrangement, structure, size, spacing, shape, frequency ranges,

polarizations, gain, radiation and impedance patterns, and operability with various networks. (Id.,




1
  Fractus, S.A. v. AT&T Mobility LLC, No. 2:18-cv-00135-JRG (E.D. Tex.) (“AT&T Mobility”);
Fractus, S.A. v. Sprint Communications Company, L.P., et al., No. 2:18-cv-00136-JRG (E.D. Tex.)
(“Sprint Commc’ns”); Fractus, S.A. v. T-Mobile US, Inc., et al., No. 2:18-cv-00137-JRG (E.D.
Tex.) (“T-Mobile”); Fractus, S.A. v. Verizon Communications Inc., et al. (Case No. 2:18-cv-00138-
JRG) (“Verizon Commc’ns”). These four cases were consolidated under lead case 2:18-cv-00135
by District Court Judge Rodney Gilstrap on May 29, 2018. AT&T Mobility, Dkt. No. 19.
2
    All emphasis added unless otherwise noted.
                                                  5
         Case 3:19-mc-00024-AWT Document 7 Filed 03/18/19 Page 10 of 28



Ex. A, July 25, 2018 Document Subpoena, at Request No. 2.)3 The Subpoenas purport to require

compliance at a San Francisco address located in the Northern District of California. (Id., Ex. A,

July 25, 2018 Document Subpoena, at 1.)

        Shortly thereafter, on August 2, 2018, Fractus provided Amphenol with a list of nearly 100

accused Amphenol antennas that were identified in its infringement contentions served pursuant

to the Eastern District of Texas Patent Local Rules.4 (Id., Ex. B, Michael Ng 8/2/19 email to Rick

Frenkel.)

        On August 31, 2018, Amphenol served its responses and objections to the Subpoena.

Amphenol objected to the phrase “multiband base station antenna” as vague and ambiguous, and

stated that it would apply its understanding of this phrase in interpreting the scope of the requested

documents. (Id., Ex. C, at Responses 1, 2.) Amphenol also objected to various categories of

requested documents that were overly broad, and that Fractus could obtain from the carrier

Defendants. (Id., Ex. C, at Responses 3-5, 8.) Amphenol offered to meet and confer regarding the

scope of certain requests for production, but Fractus did not respond to Amphenol’s offer, nor any

of its objections. (Id. at ¶ 6.)




3
  The subpoena requested non-party Amphenol’s sales and marketing communications concerning
the multiband antennas (Request No. 3), all contracts and agreements with the carrier Defendants
(Request No. 4), revenue (Request No. 5), patent licenses concerning the multiband antennas
(Request No. 6), indemnification (Request No. 7), and any communications relating to Fractus
and/or the patents-in-suit (Request No. 8). (Hyde Decl., Ex. A, July 25, 2018 Document Subpoena,
at Request Nos. 3-8.)
4
  Fractus misleadingly suggests that it provided its list of accused antennas in response to
Amphenol’s objections to the subpoena, but Fractus provided its accused product list nearly a
month before Amphenol served its objections on August 31, 2018. See Br. at 3 (“Amphenol served
objections to the subpoena, taking issue with Fractus’s definition of certain terms. In an effort to
narrow the parties’ dispute, on August 2, 2018, Fractus provided Amphenol with a list of the
antennas it was accusing of infringement in the underlying litigation….”) (citation omitted).
                                                  6
        Case 3:19-mc-00024-AWT Document 7 Filed 03/18/19 Page 11 of 28



       Amphenol diligently collected and produced over 37,000 documents relating to the

antennas identified on the list of accused products that Fractus provided to Amphenol.5 (Id. at ¶

7.) The technical documents produced by Amphenol include product data sheets, schematics, and

detailed pattern files that describe, among other things, the polarizations, gain, radiation patterns,

impedance, and electrical downtilt capabilities of the accused antennas. (Id. at ¶ 8.) Amphenol

completed its rolling production on November 13, 2018. (Id. at ¶ 7.) In December 2018, Fractus

sent a request to Amphenol for certain model number guides and additional metadata for

Amphenol’s production, which Amphenol investigated and provided without objection. (Id., Ex.

D, December Email Chain.) Despite having initiated a request to Amphenol for additional

information and documents, Fractus did not express any concerns about the scope of Amphenol’s

production. (Id.) Fractus did not identify any newly accused Amphenol products, and never so

much as suggested that the scope of the accused Amphenol antennas was being reconsidered or

may change. (Id.)

       B.      Fractus’s January 2019 Request That Amphenol Redo Its Production

       On January 9, 2019, nearly two months after Amphenol had completed its production,

Fractus for the first time disclosed a revised list of antennas. (Id., Ex. E, Luke Burton 1/9/19 email

to Rick Frenkel). Instead of accurately characterizing these products as newly accused, Fractus

wrongly claimed that the newly accused antennas were “omitted” from Amphenol’s prior

productions.6 However, only eight antennas overlapped with those in Fractus’s infringement


5
 Fractus misleadingly suggests that Amphenol produced only a “limited” number of responsive
documents. See Br. at 3.
6
  Fractus misleadingly suggests that it provided infringement contentions and a revised list of
accused antennas to Amphenol on January 9, 2019. See Br. at 3 (“Fractus updated its infringement
contentions and presented Amphenol with its revised list of accused antennas on January 9,
2019.”). Fractus did not characterize its list as a revision, nor did it provide any infringement
contentions at that time. See generally Ex. E, January 9, 2019 Email. Fractus first provided an
                                                  7
        Case 3:19-mc-00024-AWT Document 7 Filed 03/18/19 Page 12 of 28



contentions and over 80% were not identified in Fractus’s infringement contentions. (Id. at ¶ 12.)

Worse, many of the newly identified antennas were in fact “single band” antennas, a very distinct

technology from the “multiband” antennas that were the subject of Fractus’s subpoenas. (Id.)

Nevertheless, Amphenol promptly began to investigate Fractus’s request. (Id. at ¶ 13.)

       Less than 48 hours after issuing its request, and without any additional notice, Fractus

emailed to (wrongly) accuse Amphenol’s previously unobjected-to production of being deficient.

(Id., Ex. F, Luke Burton 1/11/19 email to Rick Frenkel). Fractus’s email alleged that Amphenol’s

November 2018 production was deficient because it failed to include technical documentation for

antennas that Fractus first identified to Amphenol on January 9, 2019, and failed to include certain

single band antennas—which had never been previously identified as potentially relevant or

responsive. (Id.) Fractus’s deficiency email is problematic for two additional reasons. First, as

Fractus admitted on the subsequent meet-and-confer, Fractus’s deficiency notice identified entire

categories of documents that its Subpoena does not seek.7 Second, Fractus identified certain

categories of documents as “deficient” even though Amphenol had produced the requested

documents, indicating Fractus had failed to competently review Amphenol’s production.8




incomplete sample of three infringement charts after the parties’ first meet-and-confer on January
18, 2019, and only after Amphenol insisted on receiving them. (Id. at ¶ 11.)
7
 Compare Id. at Ex. E (deficiency notice seeking asked for “industry reports and analyses” and
“documents reflecting Amphenol’s supply chain”) with Ex. A, July 25, 2018 Subpoena.
8
  For example, Fractus identified “contracts with the carrier defendants” as a category for which
Amphenol had not produced documents, when those contracts were the very first documents
Amphenol produced in response to Fractus’s subpoena. (Id. at ¶ 15.) Further, during the
discussion of another category, “documents reflecting costs of installation, maintenance, service
and repair” of the accused antennas, it became apparent that Fractus had never even reviewed
Amphenol’s contracts with the carrier Defendants to see if the requested information was present
there. (Id. at ¶ 16.)
                                                 8
        Case 3:19-mc-00024-AWT Document 7 Filed 03/18/19 Page 13 of 28



       C.      The Parties Meet and Confer

       Fractus and Amphenol met and conferred on January 18 and 24, 2019. (Id. at ¶ 13.) On

January 18, 2019, Fractus represented that the newly identified antennas were “in the case.” (Id.

at ¶ 17.) This representation was false. As of January 18, 2019, the newly identified antennas had

not been formally accused in the litigation. (Id. at ¶ 18.) Fractus first identified these newly-

accused antennas in infringement contentions served on Verizon Wireless January 16, 2018—five

days after sending its deficiency notice to Amphenol.9 (Id. at ¶ 19.) Fractus did not move for

leave to amend its infringement contentions until January 30, 2019. (AT&T Mobility, Case No.

2:18-cv-00135, at Dkt. No. 150.) Fractus’s motion remains pending.10

       During and after the January 18 meet-and-confer, Fractus represented that it had notified

the carrier Defendants of the newly accused antennas in November 2018, but Amphenol has been

unable to verify that representation with the carrier Defendants.11 (Id. at ¶ 20.) Fractus raised a

concern about purported “discrepancies” between the sales data provided by Amphenol and the

purchase data from the carrier Defendants. (Id. at ¶ 21.) Amphenol agreed to provide sample




9
  Fractus falsely asserts that it has “timely provided the Carrier Defendants with updated claim
charts as it prepared them upon receipt of their confidential technical information.” Br. at 3 n.3.
Fractus did not timely provide updated claim charts to Amphenol. Fractus also falsely states that
it “provided to both Amphenol and the Carrier Defendants detailed infringement contentions
specifically explaining how all of the antennas in question infringe the Patents-in-Suit.” Br. at 9.
Fractus only provided an incomplete “sample” of three charts to Amphenol at Amphenol’s
insistence after the parties’ first meet-and-confer on January 18, 2019. (Id. at ¶ 11.)
10
  The motion confirms that Fractus knows that the newly identified antennas were not “in the
case” as of January 9 or 11, and that Fractus requires leave of court to get those antennas into the
case.
11
   Fractus misleadingly suggests that its revised infringement contentions are the result of “the
Carrier Defendants’ production of previously unavailable, highly confidential materials.” See Br.
at 3. On their face, the infringement charts are “based on publicly available information” and
contain excerpts of the datasheets for the newly identified antennas. (Id. at ¶ 11.) These datasheets
were not produced by Amphenol, and are generally available to the public. (Id. at ¶ 11.)
                                                 9
         Case 3:19-mc-00024-AWT Document 7 Filed 03/18/19 Page 14 of 28



invoice data to help resolve the issue, and did so shortly thereafter. Fractus agreed to review the

contracts and pattern files already produced by Amphenol and report to Amphenol any specific

deficiencies, but did not do so. (Id. at ¶ 22.) At no point during the meet-and-confers did

Amphenol agree that venue for a motion to compel is proper in this District.12 (Id. at ¶ 23.)

        Shortly after the January 24 meet-and-confer, Amphenol sent a letter to Fractus

memorializing the discussion and requesting that Fractus withdraw its requests. (Id., Ex. F.) Other

than confirming that it would not withdraw its requests, Fractus did not communicate further with

Amphenol regarding its requests prior to filing this motion a month later on February 25, 2019.

(Id. at ¶ 25.)

                 D.    Fractus Serves Three Additional Subpoenas

        On March 4, 2019, Fractus served two new subpoenas duces tecum on non-parties

Amphenol Corporation and Amphenol Antenna Solutions, demanding testimony and production

of technical, financial, and marketing documents for the revised antenna list. (Id., Ex. G, March

4, 2019 Subpoenas.) On March 8, 2019, Fractus served yet another subpoena on non-party

Amphenol Antenna Solutions, Inc. seeking the production of documents relating to (i) the external

and internal structures for each base station antenna listed, and (ii) each antenna element used in

each base station antenna. (Id., Ex. H, March 8, 2019 Subpoena.)

III.    LEGAL STANDARD

        A.       Proper Venue For Motion to Compel

        A motion for an order compelling compliance with a subpoena must be filed in “the court

for the district where compliance is required.” Fed. R. Civ. P. 45(d)(2)(B)(i). “Rule 45 specifies




12
  Fractus falsely asserts that “Fractus and Amphenol agree that this District is the appropriate
venue to resolve this dispute.” Br. 2 n.2. Amphenol did not. (Frenkel Decl. at ¶ 23.)
                                                10
        Case 3:19-mc-00024-AWT Document 7 Filed 03/18/19 Page 15 of 28



that a motion to compel must be brought in ‘the court for the district where compliance is required,’

not any court of any district where compliance might have been required.” JMC Rest. Holdings,

LLC v. Pevida, No. 14 CIV. 6157(WFK)(VMS), 2015 WL 2240492, at *3 (E.D.N.Y. May 12,

2015) (citation omitted; emphasis in original).

       B.      Discovery Against Nonparties

       The Federal Circuit has held that a district court can require a movant to seek discovery

from its party opponent before burdening a non-party with an ancillary proceeding. Haworth, Inc.

v. Herman Miller, Inc., 998 F.2d 975, 978 (Fed. Cir. 1993) (noting that “the need for discovery in

an ancillary proceeding is diminished when the information is available elsewhere.”) (internal

quotation omitted).13 This Court, along with others within this Circuit, have held that non-party

status is a “significant factor” in determining whether the discovery requested by a subpoena is

unduly burdensome, and accordingly should be denied. Tucker v. Am. Int’l Grp., Inc., 281 F.R.D.

85, 92–93 (D. Conn. 2012) (collecting cases). Courts may consider “the fact that discovery is

being sought from a third or non-party, which weighs against permitting discovery.” Id. at 91.

       Indeed, this Court has observed that Federal Rule of Civil Procedure 45(d)(2)(B)(ii)

“mandates that courts protect third parties from onerous discovery requests,” and that courts have

relied on this rule to protect nonparties from “significant expense” arising from document

production. Id. at 92–93 (citing prior version of rule). Accordingly, “the Court may first consider

whether information should be obtained by direct discovery from a party, as opposed to from a

non-party, and that the court should give special weight to the unwanted burden thrust upon non-

parties when evaluating the balance of competing needs.” Id. (quoting Med. Components, Inc. v.



13
   The Federal Circuit has jurisdiction over appeals from ancillary proceedings where the
underlying litigation is a patent suit. Solarex Corp. v. Arco Solar, Inc., 870 F.2d 642, 643 (Fed.
Cir. 1989).
                                                  11
        Case 3:19-mc-00024-AWT Document 7 Filed 03/18/19 Page 16 of 28



Classic Med., Inc., 210 F.R.D. 175, 180 n. 9 (M.D.N.C. 2002)); see also Cusumano v. Microsoft

Corp., 162 F.3d 708, 717 (1st Cir. 1998) (“Non-parties have a different set of expectations.

Accordingly, concern for the unwanted burden thrust upon non-parties is a factor entitled to special

weight in evaluating the balance of competing needs.”). And, “[e]ven if a document or record

sought is otherwise ‘relevant’ for purposes of discovery under Rule 26(b) of the Federal Rules of

Civil Procedure, a court must limit discovery thereof if it ‘is unreasonably cumulative or

duplicative, or can be obtained from some other source that is more convenient, less burdensome,

or less expensive.’” Tucker, 281 F.R.D. at 92–93 (quoting Fed. R. Civ. P. 26(b)(2)(C)).

       C.      Issuing Party’s Duty to Avoid Undue Burden or Expense

       “A party or attorney responsible for issuing and serving a subpoena must take reasonable

steps to avoid imposing undue burden or expense on a person subject to the subpoena.” Fed. R.

Civ. P. 45(d)(1). Courts must “enforce this duty and impose an appropriate sanction . . . on a party

or attorney who fails to comply.” Id. Consistent with these principles, the Federal Circuit has

denied a motion to compel against a non-party where the movant had failed to first seek to compel

a party, and where the movant relied on speculation that the files held by the non-party might differ

from those held by the party.       Haworth, 998 F.2d at 978 (“Apparently, [plaintiff] seeks

impeachment evidence for non-existent testimony, which it had not even attempted to obtain.”).

This Court has denied a motion to compel compliance with a subpoena where a non-party has, “in

apparent good faith, and with seeming due diligence,” cooperated with a party’s previous

discovery requests. Tucker, 281 F.R.D. at 96.

       Other courts have cited a party’s failure to protect a non-party from undue expense as a

standalone basis to deny a motion to compel, or to award fees and expenses to a non-party. See,

e.g., ATLC, Ltd. v. Eastman Kodak Co., No. 6:06-CV-416-ORL-19KRS, 2006 WL 3422413, at *2

(M.D. Fla. Nov. 28, 2006) (denying a motion to compel when the party seeking enforcement did
                                                 12
        Case 3:19-mc-00024-AWT Document 7 Filed 03/18/19 Page 17 of 28



not demonstrate how it would compensate the third party or otherwise protect it from undue

expense); Prescient Acquisition Grp., Inc. v. MJ Publ’g Tr., No. 05 CIV.6298(PKC), 2006 WL

2996645, at *3 (S.D.N.Y. Oct. 13, 2006) (awarding to non-party its fees and expenses incurred in

compliance with subpoena); Zoological Soc. of Buffalo, Inc. v. Carvedrock, LLC, No. 10-CV-35A

SR, 2013 WL 5652759, at *4 (W.D.N.Y. Oct. 15, 2013) (granting costs and fees incurred

responding to a subpoena where the party failed to take “reasonable steps to avoid imposing undue

burden or expense on a person subject to the subpoena”).

IV.    ARGUMENT

       A.      Fractus Improperly Filed Its Motion To Compel In This Court

       This Court is an improper venue for Fractus’s motion to compel. A motion for an order

compelling compliance with a subpoena must be filed in “the court for the district where

compliance is required.” Fed. R. Civ. P. 45(d)(2)(B)(i). “Rule 45 specifies that a motion to compel

must be brought in ‘the court for the district where compliance is required,’ not any court of any

district where compliance might have been required.” JMC, 2015 WL 2240492, at *3 (citation

omitted; emphasis in original).

       On its face, Fractus’s subpoena requests compliance in San Francisco, California, which is

located within the Northern District of California. (Frenkel Decl., Exs. G, H.) It does not matter

that Amphenol is headquartered in the District of Connecticut; Fractus “selected the location for

compliance, and that choice determined the proper venue for [its] motion to compel.” JMC, 2015

WL 2240492, at *4. “Any delay or increased expense thus stems from [Fractus’s] litigation

decisions, including [its] determination to file the motion to compel in this Court and to not revise

and reissue the subpoena.” Id.

       Fractus incorrectly asserts in a footnote that the parties “agree that this District is the

appropriate venue to resolve this dispute.” Br. 2 n.2. Even if the parties could consent to venue

                                                 13
        Case 3:19-mc-00024-AWT Document 7 Filed 03/18/19 Page 18 of 28



for a motion to compel under the Federal Rules (Fractus cites no such authority), Amphenol has

not consented to venue in this District for the instant motion. (Frenkel Decl. at ¶ 23.) Fractus has

filed its motion to compel in the wrong court under Federal Rule of Civil Procedure 45(d)(2)(B)(i),

and this Court should deny Fractus’s motion on that basis alone.

       B.      Fractus’s Requests For Production Are Improper

       Fractus’s cumulative and onerous requests are improper because they would impose

significant expense on a non-party in violation of the Federal Rules. Non-party status is a

“significant factor” in determining whether the discovery requested by a subpoena is unduly

burdensome. Tucker, 281 F.R.D. at 92–93 (collecting cases). Federal Rule of Civil Procedure

45(d)(2)(B)(ii) “mandates that courts protect third parties from onerous discovery requests,” and

that courts have relied on this rule to protect nonparties from “significant expense” arising from

document production. Id. (citing prior version of rule). “Even if a document or record sought is

otherwise ‘relevant’ for purposes of discovery under Rule 26(b) of the Federal Rules of Civil

Procedure, a court must limit discovery thereof if it ‘is unreasonably cumulative or duplicative, or

can be obtained from some other source that is more convenient, less burdensome, or less

expensive.’” Id. (quoting Fed. R. Civ. P. 26(b)(2)(C)). In particular, “the Court may first consider

whether information should be obtained by direct discovery from a party, as opposed to from a

non-party.” Id.

       Amphenol fully complied with the Subpoenas in good faith and with due diligence,

producing more than 37,000 documents. See supra Section II.A; Frenkel Decl. at ¶ 7. For the

reasons that follow, Fractus is not entitled to an order compelling a redo and re-production of the

requested discovery because such an order would impose undue burden and significant expense

on non-party Amphenol in violation of the Federal Rules.



                                                14
        Case 3:19-mc-00024-AWT Document 7 Filed 03/18/19 Page 19 of 28



               1.      Technical Documents

       Fractus’s request for technical information relating to the newly identified antennas is

improper because it is unreasonably cumulative and unduly burdensome. As an initial matter, the

newly identified antennas are not currently accused in the Texas case because the Texas court has

not granted leave to Fractus to amend its infringement contentions—which requires a showing of

good cause. See supra Section II.C; E.D. Tex. P.R. 3-6(b).

       Even if the Texas court grants leave, Fractus’s request for the newly identified antennas is

unreasonably cumulative and unduly burdensome because Amphenol has already fully complied

with Fractus’s original request in good faith and with due diligence. The newly identified antennas

were first raised to Amphenol in January 2019, months after Amphenol had already had completed

its production for scores of other antennas that were previously identified by Fractus. See supra

Section II.B; Frenkel Decl., Ex. E. Fractus failed to timely respond to Amphenol’s objections to

the Subpoena, which were served in August 2018 and included an objection as to the scope of the

accused “multiband base station antenna.” See supra Section II.A; Frenkel Decl., Ex. C, at

Responses 1, 2. And Fractus also failed to notify Amphenol as soon as it realized that it intended

to accuse the newly identified antennas—which by its own admission occurred in November 2018.

See supra Section II.C; Frenkel Decl. at ¶ 20.

       As an excuse for its delay, Fractus claims that its infringement contentions for the newly

identified antennas are based on highly confidential information it only recently received from the

carrier defendants. Fractus is wrong. The three sample charts that Fractus provided to Amphenol

appear to be based on publicly available information that was available to Fractus from the start of

the litigation. See supra Section II.C; Frenkel Decl. at ¶ 11. The newly identified antennas are

mostly single band and twin band antennas, which are different classes from the multiband

antennas that Fractus originally accused. See supra Section II.B; Frenkel Decl. at ¶ 12. In contrast
                                                 15
        Case 3:19-mc-00024-AWT Document 7 Filed 03/18/19 Page 20 of 28



to the Texas cases cited by Fractus, see Br. 8-9, these products do not operate similarly, nor are

they “reasonably similar” to multiband antennas. For at least these reasons, this Court should not

grant Fractus a near-complete rewrite of its accused product list months after Amphenol, a non-

party, already completed its production.14

       Fractus’s request for technical information at the individual element level is also

unreasonably cumulative and unduly burdensome at least because it goes beyond the scope of the

Subpoena. The Subpoena requests documents “sufficient” to identify certain characteristics of the

accused antennas. (Frenkel Decl., Ex. A, at Request No. 2.) Fractus has not explained how the

thousands of pattern files already produced by Amphenol are insufficient to identify the specified

characteristics. Instead, Fractus only asserts that the requested simulation data is “relevant.” Br.

at 9-10 (“[S]imulation data is relevant to issues of infringement such as whether an antenna

element is a ‘multiband’ element and whether it is operable in frequency ranges claimed by the

patents-in-suit.”). Furthermore, the Subpoena does not request the “the polarizations, gain,

radiation patterns and impendence [sic] and impedance patterns” at the individual element level,

even though the Subpoena requests information at the individual element level elsewhere.

(Compare Frenkel Decl., Ex. A at Request No. 2(g)) (“polarizations, gain, radiation patterns . . .

associated with the antenna arrays”) with Request No. 2(f) (“frequency ranges and frequency

bands . . . [for] each individual antenna element”).) Fractus’s observation that it “specifically

identified antenna element-level information in eight out of ten subcategories for which it seeks

documents,” Br. 9, only underscores that Fractus knew how to ask for information at the individual



14
   Alternatively, instead of burdening non-parties with onerous and duplicative discovery requests,
Fractus should have obtained the purportedly “confidential” discovery it contends caused it to
materially alter its infringement contentions before seeking non-party discovery, so its subpoenas
could have been properly focused on the products it sought, and the Texas court permitted it, to
allege infringed its patents.
                                                16
        Case 3:19-mc-00024-AWT Document 7 Filed 03/18/19 Page 21 of 28



element level, yet failed to do so. To the extent that Fractus believed that it had requested this

information, Fractus failed to timely raise its concern to Amphenol, instead waiting for nearly two

months after Amphenol had completed its production. See supra Section II.B; Frenkel Decl., Ex.

B. This Court should not permit Fractus to retroactively rewrite its Subpoena to Amphenol, a non-

party, to request information that it never included in its detailed requests (and that it likely does

not need).

               2.      Sales and Marketing Documents

       Fractus’s requests for “sales and marketing documents” for the new antennas are improper

for the same reason that the technical document for the new antennas is improper. Specifically

with respect to Requests for Production 3-5, Amphenol has already collected and produced for the

original set of nearly 100 accused antennas actually sold to the carrier Defendants (i) sales and

marketing documentation, (ii) contracts and agreements relating to those antennas, and (iii)

revenue figures for sales to the carrier Defendants. See supra Section II.A; Frenkel Decl. at ¶ 7.

For this reason alone, Fractus’s motion to compel should be denied.

       In addition, these topics are overly broad, unduly burdensome, and can more readily be

obtained from the defendants. Fractus can obtain sales and marketing communications provided

to the carrier Defendants from the carrier Defendants themselves. Same as to the contracts between

Amphenol and the carrier Defendants.15




15
   Amphenol has already produced all contracts and agreements with the carrier Defendants that it
identified with a reasonable search of its records. See supra Section II.B; Hyde Decl. at ¶ 14. In
fact, these were the very first documents Amphenol produced to Fractus. Id. On the meet and
confer, it became apparent that Fractus had not reviewed the agreements that Amphenol had
already produced, so Amphenol requested that Fractus review the agreements and determine
whether the information it seeks is not present. See supra Section II.B; Hyde Decl. at ¶ 15 To
Amphenol’s knowledge, Fractus has not done so. Id. Regardless, Fractus can and should obtain
this information from the carrier Defendants.
                                                 17
        Case 3:19-mc-00024-AWT Document 7 Filed 03/18/19 Page 22 of 28



       With regard to Request for Production 5, which relates to revenues, Fractus claims that it

needs discovery from Amphenol to investigate “numerous discrepancies” between the sales

documents provided by the carrier Defendants and various third parties, many of which are “highly

consequential.” Br. 12. Fractus is wrong. Amphenol is only aware of one purported discrepancy

in the sales data, which Amphenol already voluntarily helped to resolve. See supra Section II.C;

Frenkel Decl. at ¶ 22. Specifically, Amphenol provided additional sales invoices to Fractus to help

it identify the source of the purported discrepancies. Id. As far as Amphenol understands, there

were slight variances in the way that Amphenol and the carriers record model numbers for the

accused antennas, and that issue was resolved. Id. Regardless, Fractus has not brought any other

purported discrepancies to Amphenol’s attention, much less attempted to resolve them prior to

resorting to this Court. Nor does Fractus identify any specific discrepancies in its brief that would

be resolved by an order from this Court.

       Fractus relies on a couple of cases for the proposition that it is entitled to duplicative

discovery from Amphenol. These cases are unavailing. First, Fractus relies on a single paragraph

without any citation to authority from LG Display Co., Ltd. v. Chi Mei Optroelectronics Corp.,

No. 08cv2408-L (POR), 2009 WL 223585, at *3 (S.D. Cal. Jan. 28, 2009), an unpublished order

that is not binding on this Court. Regardless, LG Display presents a different entirely context.

There, the court noted that non-party Sony had delayed filing its objections, giving multiple

representations to the movant that the documents were coming, and that Sony’s delays had pushed

out document production to the eve of the discovery deadline. Id. at *2. In those particular

circumstances, the court’s order compelling duplicative discovery over Sony’s objection may have

been warranted, although it certainly was not supported by authority. Here, in contrast, Amphenol

provided timely objections and completed its productions long before the discovery deadline. It



                                                 18
        Case 3:19-mc-00024-AWT Document 7 Filed 03/18/19 Page 23 of 28



was Fractus that failed to respond to Amphenol’s objections, and it was Fractus that waited until

months after Amphenol had completed its production before identifying any purported

deficiencies.

       Next, Fractus relies on High Point SARL v. Sprint Nextel Corp., No. 09-2269-CM-DJW,

2011 WL 124534, at *1 (D. Kan. Jan. 14, 2011), a second unpublished order that is not binding

authority on this Court. There, the non-party Ericsson was “contractually obligated to generate

and maintain the subpoenaed documents relating to [named defendant] Sprint’s network in the

normal course of business.” Id. And it was “not at all readily apparent that the subpoenaed

documents sought by High Point are also obtainable from [named defendant] Sprint.” Id. at 3.

Amphenol is not contractually obligated to the carrier Defendants to generate and maintain the

subpoenaed documents, so it is not a “contractual custodian” as discussed in High Point.

       It is telling that Fractus does not mention Haworth, Inc. v. Herman Miller, Inc., 998 F.2d

975, the controlling Federal Circuit authority that the High Point court considered at length. In

Haworth, the movant argued that because there was no evidence that the party and non-party’s

files are the same, it was entitled to production of the non-party’s files regardless of its diligence

in seeking production of the files from the party. 998 F.2d at 978. The Federal Circuit rejected

that argument, holding that the district court could properly require the movant to seek discovery

from its party opponent before burdening the non-party in an ancillary proceeding. Id. The Federal

Circuit found that, as a general matter, “the need for discovery in an ancillary proceeding is

diminished when the information is available elsewhere.” Id. The court further observed that

“[a]pparently, [the movant] seeks impeachment evidence for non-existent testimony, which it had

not even attempted to obtain.” Id. Similarly, Fractus seeks discovery from a non-party instead of

seeking it from the carrier Defendants. This Court should hold that Fractus must seek the



                                                 19
        Case 3:19-mc-00024-AWT Document 7 Filed 03/18/19 Page 24 of 28



subpoenaed sales and marketing documents from the carrier Defendants instead of further

burdening non-party Amphenol.

               3.      Communications Mentioning Fractus and/or Its Patents

       Fractus also contends that Amphenol, a non-party, should be ordered to search the entirety

of its communications with anyone for all time for any reference to Fractus or its patents. See Br.

13. Fractus must have an inflated view of its place in commerce. Regardless, Fractus is wrong

for two main reasons.      First, Amphenol has already produced its post-suit, non-privileged

communications regarding indemnification, by agreement. See supra Section II.B; Frenkel Decl.

at ¶ 8. Second, as with the requested sales and marketing communications referenced above, any

other non-privileged communications Amphenol had with the carrier Defendants would be

available to Fractus through discovery from the carrier Defendants. Any other internal or third-

party communications are far beyond the production burden that Amphenol, a non-party, should

reasonably bear.

       Fractus also claims that Amphenol has not articulated any reason why it should not produce

any communications mentioning Fractus or the Patents-in-Suit. Br. 13. Fractus is wrong. As

Amphenol repeatedly explained in its objections, in the meet-and-confers, and in correspondence,

it is unduly burdensome to request that Amphenol search the entirety of its communications for all

time for mere “mentions” of Fractus or its patents. (See, e.g., Frenkel Decl., Ex. C.) Amphenol

would not only have to coordinate a costly search across all of its electronic files; Amphenol would

also have to review all of the responsive communications for privilege and confidentiality. And

Fractus has failed to provide a prima facie basis sufficient to determine that all “mentions” would

be relevant to the claims and defenses at issue in the Texas litigations.

       Despite Amphenol’s objections, Fractus has not provided any explanation for the relevance

of, or purpose for, its request. Absent an explanation, the balance weighs strongly in favor of
                                                 20
        Case 3:19-mc-00024-AWT Document 7 Filed 03/18/19 Page 25 of 28



Amphenol. As this Court held in Tucker, “absent a showing that plaintiff either cannot obtain—

or in fact has not obtained—ample discovery on the essential elements of [its] claim,” this Court

“should refrain from ordering yet another broad and costly search [for a non-party’s documents]

which may not exist.” Tucker, 281 F.R.D. at 96. Indeed, this overly broad and speculative request

reveals Fractus’s desire to “dredge an ocean of [Amphenol’s] electronically stored information and

records in an effort to capture a few elusive, perhaps non-existent, fish.” Id. at 96. For at least

these reasons, this Court should reject Fractus’s motion to compel production for this request.

       C.      Fractus Has Failed To Take Reasonable Steps To Avoid Imposing Undue
               Burden And Expense On Nonparty Amphenol

       Fractus’s motion to compel should be denied because Fractus has failed to take reasonable

steps to avoid imposing undue burden and expense on non-party Amphenol, as required by the

Federal Rules. “A party or attorney responsible for issuing and serving a subpoena must take

reasonable steps to avoid imposing undue burden or expense on a person subject to the subpoena.”

Fed. R. Civ. P. 45(d)(1). Courts must enforce this duty with appropriate sanctions, and protect

nonparties from “significant expense” resulting from compliance. Fed. R. Civ. P. 45(d)(1)-(2).

Consistent with these provisions, this Court has denied a motion to compel compliance with a

subpoena where a non-party has, “in apparent good faith, and with seeming due diligence,”

cooperated with a party’s prior discovery requests, holding that the additional request would be

likely to impose “significant expense” on the non-party. Tucker, 281 F.R.D. at 96 (quoting prior

version of Fed. R. Civ. P. 45(d)(2)). Other courts have cited this provision of the Federal Rules as

a standalone basis to deny a motion to compel, or to award fees and expenses to a non-party for

the cost of its response. See, e.g., ATLC, 2006 WL 3422413, at *2 (denying a motion to compel

when the party seeking enforcement did not demonstrate how it would compensate the third party

or otherwise protect it from “undue burden or expense”) (citing prior version of Fed. R. Civ. P.


                                                21
        Case 3:19-mc-00024-AWT Document 7 Filed 03/18/19 Page 26 of 28



45(d)(1)); Prescient Acquisition Grp., Inc. v. MJ Publ’g Tr., No. 05 CIV.6298(PKC), 2006 WL

2996645, at *3 (S.D.N.Y. Oct. 13, 2006) (awarding to non-party 50% of its fees and 100% of its

expenses incurred in compliance with subpoena, even where no breach of duty under Rule 45)

(citing prior version of Fed. R. Civ. P. 45(d)(1)-(2)); Zoological Soc., 2013 WL 5652759, at *4

(granting costs and fees incurred responding to a subpoena where the party failed to take

“reasonable steps to avoid imposing undue burden or expense on a person subject to the

subpoena”).

       Amphenol has already complied with Fractus’s subpoena in good faith and with due

diligence, producing tens of thousands of responsive documents. See supra Section II.A; Frenkel

Decl. at ¶ 7. Meanwhile, Fractus has failed to take reasonable steps to avoid imposing undue

burden or expense on Amphenol. In particular, Fractus initially provided a list of nearly 100

accused antennas that Amphenol used to collect and produce tens of thousands of responsive

technical documents, but failed to timely notify Amphenol when it identified an almost entirely

different set of antennas it intended to accuse. See supra Section II.C; Frenkel Decl. at ¶ 20.

Fractus also failed to timely respond to Amphenol’s objections to the Subpoena, and only accepted

Amphenol’s offer to meet and confer two months after Amphenol had already completed its

production. See supra Section II.C; Frenkel Decl. at ¶ 6. In its Subpoena, Fractus failed to request

the production of element-specific technical information that it now seeks this Court to compel.

See supra Section IV.B.1; Frenkel Decl., Ex. A. Fractus failed to review certain documents in

Amphenol’s production to narrow or modify its requests, despite promising to do so on the parties’

meet-and-confers. See supra Section II.C; Frenkel Decl. at ¶ 17. In correspondence following the

first meet-and-confer, Amphenol put Fractus on notice that Fractus was not in compliance with its

obligations under Federal Rule of Civil Procedure 45(d)(1), but Fractus filed the instant motion



                                                22
        Case 3:19-mc-00024-AWT Document 7 Filed 03/18/19 Page 27 of 28



instead of narrowing or withdrawing its requests. See supra Section II.C; Frenkel Decl., Ex. F.

Fractus filed the instant motion prior to obtaining leave from the Texas court to amend its

infringement contentions. See supra Section II.C. And with the instant motion, Fractus persists

with unnecessarily broad discovery requests, such as all communications for all time mentioning

Fractus or the patents-in-suit. See supra Section IV.B.3.

       For at least these reasons, Fractus has already imposed significant expenses on Amphenol

through its own dereliction of duty under the Federal Rules. This Court should deny Fractus any

further opportunity to impose significant expenses on Amphenol.

       (i) If the Court sees fit to deny Fractus’s motion, the Court should award the fees and

           expenses associated with opposing the motion, which is facially deficient because

           Fractus has filed its motion to compel in the wrong court under Federal Rule of Civil

           Procedure 45(d)(2)(B)(i).16

       (ii) If the Court sees fit to grant Fractus’s motion and order any production to Fractus under

           the instant motion, the Court should award fees and expenses associated with such

           production to Amphenol to mitigate the significant expenses it has already incurred due

           to Fractus’s violation of its duty under the Federal Rules.

Either way, Amphenol respectfully requests that the Court award its reasonable fees and costs, and

direct Amphenol to provide documentation to the Court supporting that request.

V.     CONCLUSION

       Fractus’s motion to compel should be denied and the Court should award the fees and

expenses associated with opposing the motion. In the alternative, should this Court order any



16
  Should Fractus withdraw its facially deficient motion, Amphenol maintains its request for oral
argument so that the Court may consider awarding the fees and expenses associated with opposing
the motion.
                                                23
        Case 3:19-mc-00024-AWT Document 7 Filed 03/18/19 Page 28 of 28



further production to Fractus, this Court should award fees and expenses to Amphenol associated

with such further production.



 DATED: March 18, 2019                             Respectfully submitted,

                                                   /s/ Jessica Bengels
                                                   Jessica L. Bengels (ct29396)
                                                   Clement J. Naples (Pro hac vice pending)
                                                   LATHAM & WATKINS LLP
                                                   885 Third Avenue
                                                   New York, NY 10022-4834
                                                   Tel: 212.906.1200
                                                   Fax: 212.751.4864
                                                   Email: jessica.bengels@lw.com
                                                   clement.naples@lw.com

                                                   Maximilian A. Grant (Pro hac vice forthcoming)
                                                   LATHAM & WATKINS LLP
                                                   555 Eleventh Street, NW Suite 1000
                                                   Washington, D.C. 20004-1304
                                                   Tel: 202-637-2200
                                                   Fax: 202-637-2201
                                                   Email: max.grant@lw.com

                                                   Richard G. Frenkel (Pro hac vice pending)
                                                   LATHAM & WATKINS LLP
                                                   140 Scott Drive
                                                   Menlo Park, CA 94025
                                                   Tel: 650.328.4600
                                                   Fax: 650.463.2600
                                                   Email: rick.frenkel@lw.com

                                                   Bradley A. Hyde (Pro hac vice pending)
                                                   LATHAM & WATKINS LLP
                                                   140 Scott Dr.
                                                   Menlo Park, CA 94025
                                                   Tel: 650-328-4600
                                                   Fax: 714-755-8290
                                                   Email: bradley.hyde@lw.com

                                                   Attorneys for Respondent Amphenol Corporation




                                              24
